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                                    Exhibit B


Claim Number Date       Carrier Name                     Reason      Total
             Created                                     Code        Amount
QC0001004611 03/29/2022 Yellow Corporation               Lost/Stolen $
                                                                     2,580.42
QC0001008514 10/12/2022 Yellow Corporation               Lost         $
                                                                     7,453.20

                                                                       $
                                                                      10,033.62




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